              So Ordered.

Dated: June 22nd, 2021




                       UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF WASHINGTON

     In re:                                     Case No. 16-02182-FPC13

     MANUEL SAILE YBANEZ, II,                   ORDER DENYING
                                                APPLICATION FOR PAYMENT
                            Debtor.             OF UNCLAIMED FUNDS

           THIS MATTER came before the Court on Shadi Ghaith Inc.’s Application
    for Payment of Unclaimed Funds (ECF No. 98) in the amount of $51,870. The
    Court reviewed the files and records herein, heard from Kevin Swartz, attorney for
    the Debtor, and Mike Todd on behalf of the Chapter 13 Trustee’s office, and was
    fully advised in the premises.

          The Court finds that Dr. Ybanez and Mr. Ghaith had notice of the June 22,
    2021 hearing on the Application for Payment of Unclaimed Funds, but neither
    individual attended the hearing. As a result of the absence of both Dr. Ybanez and
    Mr. Ghaith, the Court is unable to determine the parties’ relationship to one
    another, the reasons that justify the substantial fee requested by Mr. Ghaith, or to
    determine how Dr. Ybanez’s share of the funds will be distributed to him.
    Therefore,

          IT IS ORDERED: The Application for Payment of Unclaimed Funds (ECF
    No. 98) is DENIED.

                                      ///End of Order///

    ORDER DENYING APPLICATION FOR UNCLAIMED FUNDS
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